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               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

BERKELEY VENTURES II, LLC

            Plaintiff,
v.                                            Civil Action File No.
                                              1:19-cv-05523-SDG
SIONIC MOBILE CORPORATION and
RONALD D. HERMAN,

            Defendants.

  SIONIC MOBILE CORPORATION’S CERTIFICATE OF SERVICE
      FOR DEFENDANT SIONIC MOBILE CORPORATION’S
  OBJECTIONS TO PLAINTIFF BERKELEY VENTURES II, LLC’S
  SUBPOENA TO PRODUCE DOCUMENTS, OR OBJECTS OR TO
    PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

     Defendant Sionic Mobile Corporation (“Sionic”) certifies that, on May 5,

2021, it submitted DEFENDANT SIONIC MOBILE CORPORATION’S

OBJECTIONS TO PLAINTIFF BERKELEY VENTURES II, LLC’S

SUBPOENA TO PRODUCE DOCUMENTS, OR OBJECTS OR TO

PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION to the

following attorney of record by FedEx and email:

                              Jason Brian Godwin
                              Godwin Law Group
                         3985 Steve Reynolds Boulevard
                                  Building D
                              Norcross, GA 30093




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This May 5, 2021.

                                   /s/ Simon Jenner
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                                   Corporation




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